                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TENNESSEE
                                AT KNOXVILLE


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )      No. 3:93-CR-031
                                               )
MARK ANTHONY ANDREWS                           )


                                      ORDER

      Now before the Court is the defendant’s pro se motion for compassionate release

pursuant to 18 U.S.C. 3582(c)(1)(A)(i). [Doc. 1159]. The United States is DIRECTED

to respond to the defendant’s motion no later than May 5, 2021.

             IT IS SO ORDERED.

                                                      ENTER:



                                                             s/ Leon Jordan
                                                       United States District Judge
